                                            ORIGINII                                          08/27/2024


             IN THE SUPREME COURT OF THE STATE OF MONTANA                                 Case Number: PR 06-0544



                                         PR 06-0544


 IN RE PETITION OF TONYA DEE BUMBARGER
 FOR REINSTATEMENT TO ACTIVE STATUS IN                                    ORDER
 THE BAR OF MONTANA



       Tonya Dee Bumbarger has petitioned for reinstatement to active status in the State
Bar of Montana. Bumbarger was placed on inactive and/or suspended status by the State
Bar of Montana pursuant to Rules 3B2, 5, and 13 of the Rules for Continuing Legal
Education (CLE), on or about July 2, 2024, as a result of noncompliance with CLE
requirements. In accordance with Rule 13 of the CLE Rules, Bumbarger has provided a
letter from the State Bar certifying that Bumbarger has now completed all CLE
requirements "through the reporting year that ended March 31, 2024."
       The Petition indicates Bumbarger is or has not been: 1) suspended, disbarred, or
otherwise ineligible to practice of law in another jurisdiction and is not currently subject to
disciplinary proceedings or pending disciplinary proceedings in another jurisdiction,
2) charged with a criminal offense, 3) accrued delinquent debt or filed for bankruptcy,
4) failed to fulfill the obligations of a public office or professional license, or 5) committed
any violations of the Rules of Professional Conduct while on inactive and/or suspended
status. Good cause appearing,
       IT IS HEREBY ORDERED that the petition of Tonya Dee Burnbarger for
reinstatement to active status in the State Bar of Montana is GRANTED.
       The Clerk is directed to provide copies of this order to the Petitioner and the State
Bar of Montana.
                    LO—
       DATED this-Z.3" day of August, 2024.



              FILED                                               Chief Justice

               AUG 2 7 2024
            Bowen Greenvvood
          Clerk of Supreme Court
             State of Montana
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